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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION, CINCINNATI


XIAFEN CHEN                                    :
1438 Meadow Ridge Circle                       :   Case No. 1:19-cv-00045
Wilmington, OH 45177                           :
                                               :   Judge Timothy S. Black
                     Plaintiff,                :
                                               :   JURY TRIAL DEMANDED
vs.                                            :
                                               :
UNITED STATES OF AMERICA                       :
                                               :
                     Defendant.                :
                                               :
                                               :
                                               :


                                        [PROPOSED] ORDER

       AND NOW THIS __________ day of ___________, 2019, upon consideration of Plaintiff

Xiafen “Sherry” Chen Motion to amend her complaint pursuant to Rule 15(a)(2) of the Federal

Rules of Civil Procedure it is hereby ORDERED as GRANTED. Further, the United States

Motion to Dismiss the claims under the Federal Tort Claims Act (“FTCA”) is hereby DENIED.

                                           `        BY THE COURT


                                                    _________________
                                                    TIMOTHY S. BLACK, J
